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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

HECTOR ORTIZ,                      :
          Petitioner,              :
                                   :
v.                                 :    Crim. No. 3:97cr48 (AHN)
                                   :
UNITED STATES OF AMERICA,          :
          Respondent.              :


           RULING ON PETITION FOR A WRIT OF HABEAS CORPUS

     On February 12, 1998, petitioner Hector Ortiz (“Ortiz”)

pleaded guilty to racketeering and accessory after the fact to

murder.   On October 1, 1998, the court sentenced him to 360-

months imprisonment on the racketeering count and 180-months on

the accessory to murder count, the sentences to run concurrently.

Ortiz appealed this sentence, and the Second Circuit affirmed.

See United States v. Ortiz, 1 Fed. Appx. 18 (2d Cir. 2001).

     Now pending before the court are three petitions Ortiz has

filed for a writ of habeas corpus pursuant to 28 U.S.C. § 2255.1

The second and third pending petitions [docs ## 1346 and 1355]

appear to be photocopies of Ortiz’s March 8, 2001 petition [doc #

1340] -- a handwritten, two-page document in which Ortiz alleges

that he received ineffective assistance of counsel.            The court

concludes that Ortiz’s claims are without merit, and his



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       Ortiz previously filed a § 2255 petition [doc # 1288] on
September 30, 1999, but withdrew the petition [doc # 1296] when
he learned that the direct appeal of his sentencing was still
pending in the Second Circuit. For this reason, the court has
not treated the pending § 2255 petitions as successive petitions.
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petitions for a writ of habeas corpus [docs ## 1340, 1346, and

1355] are DENIED.

                   BACKGROUND AND PROCEDURAL HISTORY

     Ortiz was a member of the Latin Kings street gang, whose

members trafficked drugs and committed numerous other crimes.

Ortiz and co-defendant Jesus Colon (“Colon”) ran the 223 Ferry

Street drug block in New Haven, which sold heroin on a nearly 24-

hour basis. Seven witnesses testified at the 1998 trial of four

other Latin King gang members or otherwise provided the

government with information that Ortiz took over the drug block

in August 1996, when Colon went to prison, and distributed

Colon’s share of the block’s proceeds to Colon’s family members.

The government intercepted conversations in which Ortiz provided

detailed instructions about who would be permitted to sell drugs

on the block after Ortiz left for a trip to Puerto Rico.             The

following day, agents and officers executed search warrants for

223 Ferry Street; the search yielded significant quantities of

heroin and cash.    Ortiz stayed in contact with Colon while the

latter was in prison, and in December 1996, just days after Colon

was released, Colon shot and killed Ronald Foreman (“Foreman”) to

assert his control over the drug block.        Ortiz allowed Colon to

stay in his home after the murder.

     A grand jury returned an indictment against Ortiz and many

of his confederates, charging him with racketeering and being an


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accessory after the fact to the murder of Foreman.            After

extensive negotiations with the government, Ortiz pleaded guilty

to the racketeering and accessory to murder counts on February

12, 1998.    As part of his agreement, Ortiz stipulated that he was

responsible for the distribution of between eight and ten

kilograms of heroin.

     The Pre-Sentence Report (“PSR”) placed Ortiz in criminal

history category VI, the highest category.         It also failed to

credit Ortiz with acceptance of responsibility because he denied

that he was a member of the Latin Kings gang and minimized the

profits that he earned.      Over defense counsel’s objection, the

court followed the PSR’s recommendations and found the

appropriate guideline sentencing range to be 360-months to life

imprisonment.   The court sentenced Ortiz to the low end of the

guidelines, 360 months.      He appealed his sentence to the Second

Circuit, contending that this court 1) should have granted a

sentence reduction for acceptance of responsibility; 2) provided

inadequate reasons for the sentence; and 3) adopted an

erroneously high guidelines range when sentencing Ortiz as an

accessory.   See Ortiz, 1 Fed. Appx. at 19.        The Second Circuit

affirmed.    Ortiz timely filed his three petitions for a writ of

habeas corpus between March 8 and May 3, 2001.

                               DISCUSSION

     Ortiz’s allegations are conclusory and often difficult to

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comprehend, but his ineffective assistance of counsel claim

appears to rest on three broad grounds -- the representation

relating to his plea, his sentencing, and his appeal.            Ortiz

alleges that his attorney inadequately prepared him for his plea

because his counsel (1) had a conflict of interest, which Ortiz

does not identify; (2) failed to give him the entire file of the

case including “[r]ecord tapes” and “statements,” and (3) failed

to properly investigate the case.       He also alleges that his

counsel provided ineffective assistance for his sentencing

because his counsel failed to (1) “accurately and adequately

perfect the relevant conduct issue” in the PSR, or (2) object to

the court’s supposed refusal to permit Ortiz to allocute on his

own behalf at sentencing, which left an inadequate record so that

Ortiz could not raise the issue on appeal.         Ortiz further

contends that his counsel failed to consult him about the issues

for appeal.   The government observes that Ortiz has not alleged

facts sufficient to support any of these contentions, and that he

cannot demonstrate that he has suffered prejudice under

Strickland v. Washington, 466 U.S. 668 (1984).          The court agrees.

     Although the court is mindful that pleadings drafted by

prisoners without the benefit of counsel are to be liberally

construed, see McNeil v. United States, 508 U.S. 106, 113 (1993),

a petitioner “must set forth specific facts which he is in a

position to establish by competent evidence” to be entitled to a


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hearing, let alone relief on his habeas petition.2            See LoCascio

v. United States, 395 F.3d 51, 57 (2d Cir. 2005); see also Dalli

v. United States, 491 F.2d 758, 761 (2d Cir. 1974)(finding

petitioner’s statements were too “vague, indefinite and

conclusory” to warrant an evidentiary hearing).          This is

especially so where, as here, the petitioner seeks to overcome

the strong presumption that counsel provides effective

assistance.   See Strickland, 466 U.S. at 687.         The Second Circuit

has repeatedly “declined to deem counsel ineffective

notwithstanding a course of action (or inaction) that seems

risky, unorthodox or downright ill-advised.”         See Loliscio v.

Goord, 263 F.3d 178, 195 (2d Cir. 2001).        Under Strickland, a

habeas petitioner claiming ineffective assistance of counsel must

make a two-part showing.     First, the petitioner must demonstrate

that counsel’s performance was deficient -- that is, errors were



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      Ortiz acknowledges in his petition that he cannot read and
“only went to the 8th [grade] in high school.” His petition
contains a number of sentence fragments and vague statements that
are difficult to assemble into a coherent challenge to his
conviction and sentencing. Ortiz has attached to his third
petition, as part of his request for representation in seeking
habeas relief, an “outline[] . . . for the purpose of identifying
. . . ineffective assistance of counsel.” This outline contains
52 items, none of which make more than conclusory allegations of
inadequate representation -- e.g., “27) counsel failure of [sic]
ineffective representation at sentencing,” “43) counsel failure
disclosure testimony grand jury [sic].” The court has reviewed
Ortiz’s submission, but the outline provides scant detail that
would shed light on his claims of attorney ineffectiveness or
prejudice to his defense.

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made of such serious magnitude that the petitioner was deprived

of the counsel guaranteed by the Sixth Amendment.              See id.

Second, the petitioner must show that there is a reasonable

probability that, but for counsel’s deficient performance, the

result would have been different.       See id. at 694.         The standard

for prejudice is particularly stringent -- a petitioner must show

“not merely that the errors at his trial created a possibility of

prejudice, but that they worked to his actual and substantial

disadvantage, infecting his entire trial with error of

constitutional dimensions.”      United States v. Frady, 456 U.S.

152, 170 (1982).

     Ortiz’s conclusory allegations about the conduct of his

counsel do not come close to demonstrating that he suffered

actual prejudice in either his plea or his sentencing.              To show

prejudice under the Strickland test in the context of a guilty

plea, a petitioner must demonstrate “there is a reasonable

probability that, but for counsel’s errors, he would not have

pleaded guilty and would have insisted on going to trial.”               Hill

v. Lockhart, 474 U.S. 52, 59 (1985).         Ortiz claims that his

counsel failed to provide him with “[r]ecord tapes,”

“statements,” or access to his file, but he does not cite any

information from his file that, had he known in February 1999, he

would not have pleaded guilty.      Likewise, Ortiz states that his

counsel should have “properly” investigated the case, but he


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identifies no avenue of investigation, let alone one that would

yield exculpatory evidence, that his counsel should have pursued

but did not.   Thus, Ortiz cannot satisfy the prejudice prong of

the Strickland test with regard to the representation he received

in preparation for his guilty plea.

     Ortiz’s conclusory statements regarding his counsel’s

allegedly deficient performance at his sentencing also fail to

establish prejudice.    He asserts that his counsel failed to

“accurately and adequately perfect the relevant conduct issue” in

the PSR.   However, Ortiz does not explain what relevant conduct

the PSR may have recorded inaccurately.        Ortiz’s reply [doc #

1461] to the government’s response does fault his counsel for

telling him that he would receive a three-level reduction for

acceptance of responsibility under the Sentencing Guidelines if

he pleaded guilty.    Ortiz’s counsel did object at sentencing to

the PSR’s recommendation that Ortiz be denied a reduction for

acceptance of responsibility.      This court, however, followed the

PSR recommendation in determining Ortiz’s guideline calculation,

and the Second Circuit affirmed this court’s decision.            See

Ortiz, 1 Fed. Appx. at 19-20.      The accuracy of counsel’s

prediction to Ortiz about the fate of his attempt to receive

credit for acceptance of responsibility obviously had no bearing

on the court’s decision regarding his sentence, and thus Ortiz




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cannot show any prejudice.3

      Finally, Ortiz appears to contend that his counsel failed to

“go over the appeal matter” with him before filing the appeal.

Ortiz’s contention cannot be that his counsel failed to take an

appeal on his behalf, as counsel did prosecute an appeal that

raised three separate challenges to his sentencing.             See id. at

19.   Rather, Ortiz appears to challenge his counsel’s alleged

failure to consult him about the issues he wished to appeal.

However, it is well-established that a defendant has no

constitutional right to select which issues his attorney must

raise on appeal.      See Jones v. Barnes, 463 U.S. 745, 750-51

(1983).    In fact, the “process of winnowing out weaker arguments

on appeal and focusing on those more likely to prevail, far from

being evidence of incompetence, is the hallmark of effective

appellate advocacy.”      See Smith v. Murray, 477 U.S. 527, 536

(1986).    In the context of this deference accorded to appellate

defense counsel in selecting which issues to pursue on appeal,

Ortiz does not identify a single meritorious issue that his


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       To the extent that Ortiz’s discursive allegations can be
construed as a claim that but for counsel’s inaccurate
predictions about his sentencing, he would not have pleaded
guilty, or he would have withdrawn his guilty plea, this claim
must also fail. The Second Circuit has held that a defendant is
not entitled to withdraw a guilty plea simply because his
attorney erroneously predicted his sentence, and a petitioner may
not circumvent this rule by characterizing his claim as one for
ineffective assistance of counsel. See United States v. Sweeney,
878 F.2d 68, 70 (2d Cir. 1989).

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counsel failed to raise.     He only faults his counsel for failing

to consult him, and thus he cannot demonstrate that he suffered

an “actual and substantial disadvantage” because of his counsel’s

performance.   See Frady, 456 U.S. at 170.       As with Ortiz’s claims

regarding the representation he received for his plea and his

sentencing, he cannot demonstrate the prejudice that would

warrant relief under Strickland on his ineffective assistance of

counsel claim.

                               CONCLUSION

     For the foregoing reasons, Ortiz’s petitions for a writ of

habeas corpus [docs ## 1340, 1346, and 1355] are DENIED.             Because

petitioner fails to make a substantial showing of the denial of a

constitutional right, a certificate of appealability shall not

issue.   See 28 U.S.C. § 2253.

     So ordered this 5th day of July, 2006, at Bridgeport,

Connecticut.




                                  __________/s/_________________
                                  Alan H. Nevas,
                                  United States District Judge




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